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        11
                                     UNITED STATES DISTRICT COURT
        12
                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
        13
        14    AIRDOCTOR, LLC, a Delaware Limited             CASE NO. 2:22-cv-05784-GW(ASx)
              Liability Company,
        15                                                   Judge: Hon. George H. Wu
                              Plaintiff,
        16                                     MEMORANDUM OF POINTS AND
                    v.                         AUTHORITIES IN SUPPORT OF
        17
              XIAMEN QICHUANG TRADE CO., LTD., MOTION FOR DEFAULT
        18                                     JUDGMENT
        19               Defendant.
                                               Date:   September 7, 2023
        20                                     Time:   8:30 am
        21                                     Crtm:   9D
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          1            Pursuant to Federal Rule of Civil Procedure 55 and Local Rule 55-1, Plaintiff
          2 AirDoctor, LLC (“Plaintiff” or “AirDoctor”) respectfully requests that the court enter
          3 default judgment against Defendant Xiamen Qichuang Trade Co., Ltd. (“Defendant”) for
          4 failure to plead or otherwise defend against this action in a timely manner.
          5       I.   INTRODUCTION
          6            Plaintiff initiated this action to stop the harm to Plaintiff’s business and its
          7 customers caused by Defendant’s false and misleading advertising of cheap, flimsy
          8 imitation replacement air filters for Plaintiff’s popular Plaintiff’s AirDoctor Air Purifiers1
          9 under Defendant’s “FCFMY brand (“Substandard Filters”). Plaintiff’s genuine Plaintiff’s
        10 AirDoctor Air Purifiers with their genuine AirDoctor UltraHEPA Filters have earned the
        11 trust of consumers, health-conscious individuals, allergy sufferers, and others with
        12 medical or respiratory conditions, to provide powerful and effective air filtration for their
        13 homes and businesses.
        14             In effort to profit off of Plaintiff’s AirDoctor Brand, AirDoctor Mark,
        15 ULTRAHEPA Mark, AirDoctor Air Purifiers and AirDoctor UltraHEPA Filters
        16 Defendant has flooded the marketplace with its Substandard Filters with demonstrably
        17 false advertising claims that they can “replace”; are “compatible with”; and/or “fit”
        18 Plaintiff’s AirDoctor Air Purifiers; and/or meet the HEPA standard to provide equivalent
        19 performance to Plaintiff’s AirDoctor UltraHEPA Filters -- but they are neither
        20 “compatible with”, nor properly “fit” in Plaintiff’s AirDoctor Air Purifiers; nor do they
        21 meet the HEPA standard. Courts have recognized that such false “HEPA” claims violate
        22 the Lanham Act and false advertising laws. See, e.g., Dyson, Inc. v. Bissell Home Care,
        23 Inc., 951 F.Supp.2d 1009 (N.D. Ill. 2013) (vacuum cleaner company’s statements that its
        24 vacuums met “HEPA” standards were literally false under Lanham Act and state law). As
        25 described in Plaintiff’s well-pleaded Complaint, third-party laboratory testing confirms
        26 the falsity of Defendant’s advertising and that Defendant has tricked thousands of
        27
              1Unless otherwise noted, the capitalized terms herein have the same meaning as those
        28 in the Complaint. See Dkt. 1.
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          1 Plaintiff’s customers into purchasing Substandard Filters using the false claims that the
          2 filters are “HEPA”, “compatible” with AirDoctor Air Purifiers, and provide the same
          3 performance as genuine AirDoctor UltraHEPA Filters.
          4        Despite multiple attempts to contact Defendant to address these issues and serving
          5 the Complaint and summons in accordance with the Court’s orders, Defendant has failed
          6 to appear or otherwise respond to the Complaint. As set forth herein, Plaintiff meets the
          7 procedural and substantive requirements for the Court to enter default judgment and
          8 award the requested relief. Plaintiff respectfully requests: 1) the entry of final judgment2;
          9 2) a permanent injunction; and 3) damages in the amount of $2,492,149.00 in lost profits;
        10 and 4) attorneys’ fees and costs in the amount of $53,442.98.
        11 II.     STATEMENT OF FACTS AND PROCEDURE
        12         A.      Factual Background
        13              1. Plaintiff and its AirDoctor Products
        14         Plaintiff AirDoctor is a purpose-driven consumer goods company based in
        15 Sherman Oaks, California. See Complaint (“Compl.”) at ¶¶23-26. The company’s mission
        16 is to create affordable and accessible products, relying on science and independent third-
        17 party testing.     See id.   One of Plaintiff’s most popular and trusted brands is its
        18 professional-grade AirDoctor Air Purifiers, which utilize its UltraHEPA Filters. Id. at
        19 ¶¶25-26
        20         Plaintiff has invested millions of dollars in research, development, and promotion
        21 the AirDoctor air purifiers and genuine replacement filters. Id. at ¶26. The AirDoctor Air
        22 Purifiers are mechanical air purifiers that incorporate a 3-Stage filtration system that
        23 combines a cleanable pre-filter with AirDoctor’s UltraHEPA filter and proprietary dual-
        24 action Carbon/Gas Trap/VOC filter. Id. at ¶27.
        25
        26
        27
              In accordance with L.R. 58-1, Plaintiff lodges a proposed form of judgment
              2
        28 concurrently with this application.
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          1        The centerpiece of the AirDoctor filtration system is Plaintiff’s UltraHEPA filter
          2 and its sealed filter system. Id. at ¶¶27, 31. The gold-standard of mechanical air filters
          3 are so-called “HEPA” filters. As defined by the U.S. Dept. of Energy (“DOE”), high-
          4 efficiency particulate air (“HEPA”) filters work by forcing air through a fine mesh to trap
          5 harmful airborne particles. Id. at ¶¶28-29.
          6        In order to claim that an air filter is “HEPA”, the DOE standard specifies that the
          7 filter must “remove at least 99.97% of dust, pollen, mold, bacteria, and any airborne
          8 particles with a size of 0.3 microns.” Id. at ¶29.3 Plaintiff’s AirDoctor UltraHEPA Filters
          9 capture dust, pollen, pet dander, smoke, mold spores, volatile organic compounds, and
        10 household odors with an efficiency exceeding the DOE standard. Id. at ¶30; see also
        11 Compl at Ex. E-F.
        12         Independent laboratory testing of the AirDoctor Air Purifiers and AirDoctor
        13 UltraHEPA Filters confirms that they not only meet the HEPA standard, but also remove
        14 at least 99.99% of particles as small as 0.003 microns (or 100 times smaller than the
        15 HEPA standard). Id. The performance of AirDoctor Air Purifiers and the UltraHEPA
        16 Filters are backed by rigorous, third-party laboratory testing. AirDoctor is one of the few
        17 companies in the industry to test and publish its products’ effectiveness in removing
        18 bacteria and viruses, including SARS-CoV-2, and H1N1. Id. at ¶32.
        19         Unlike many of its competitors, Plaintiff publishes the results of that testing on its
        20 AirDoctor Website, https://airdoctorpro.com/ (“AirDoctor Website”). Plaintiff’s
        21 commitment to testing and transparency is one of the major reasons that consumers
        22 choose AirDoctor Air Purifiers and UltraHEPA replacement filters and trust Plaintiff’s
        23 products with their health. Id. at ¶33. In addition to its own website, Plaintiff sells
        24 AirDoctor Air Purifiers and genuine UltraHEPA replacement filters on third-party
        25 websites, including Amazon.com. Id. at ¶35; and Compl. at Ex G.
        26
        27 3 See also https://www.epa.gov/indoor-air-quality-iaq/what-hepa-
           filter#:~:text=It%20is%20an%20acronym%20for,of%200.3%20microns%20(%C2%B5
        28 m).
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          1               2. Defendant and Its False Advertising of Substandard Filters as “HEPA”-
                             Grade and “Compatible” With AirDoctor Air Purifiers
          2
                    Defendant is a Chinese entity that directly competes with Plaintiff in selling
          3
              Substandard Filters claiming to be replacements for Plaintiff’s AD3000 AirDoctor Air
          4
              Purifier, including on Amazon.com. Compl. at ¶¶16, 37-47. Defendant operates the
          5
              storefront, “Replacement Filter” where it sells the substandard, imitation replacement
          6
              filters under the “FCFMY” brand on Amazon.com. Compl. at ¶¶42-43. On Amazon.com,
          7
              Defendant advertises that its Substandard Filters are “HEPA” grade, are “compatible”
          8
              with Plaintiff’s AirDoctor Air Purifiers, “remove 99.97% of airborne particles down to
          9
              0.3 microns in size” and “fit snugly” in the AirDoctor Air Purifier. Compl. at ¶¶44-47,
        10
              Exs. H-I.
        11
                    In its advertising, Defendant conveys the message to consumers that its
        12
              Substandard Filters meet the HEPA standard to trap 99.97% of airborne particles with a
        13
              size of 0.3 microns. Id. at ¶¶48-49. Moreover, by claiming its Substandard Filters are
        14
              “compatible” and “fit” AirDoctor units, Defendant indicates that its Substandard Filters
        15
              perform just as Plaintiff’s AirDoctor UltraHEPA Filters do within the AirDoctor Air
        16
              Purifiers, and that they properly fit in the AirDoctor Air Purifiers to maintain a sealed
        17
              system. Id. at 49. However, testing of Defendant’s Substandard Filters confirms that they
        18
              use inferior materials, do not meet the HEPA standard, and the design of the filters does
        19
              not create a proper airtight seal in the unit (and therefore the filters are neither
        20
              “compatible” nor “fit” as claimed by Defendant). Id. at ¶50; Exhibit J. In addition,
        21
              Defendant also includes the false “HEPA” claims and compatibility claims on the product
        22
              packaging. See Declaration of Mohan Ahaus (“Ahaus Decl.”) at Ex. A.
        23
                    B.      Harm to Plaintiff and Its Customers
        24
        25          Defendant’s conduct and fraudulent advertising of as well as its sale of Substandard

        26 Filters has caused (and continues to cause) substantial and irreparable harm to AirDoctor,
        27 and its AirDoctor Brand. Compl. at ¶¶51-52; see also Ahaus Decl. at ¶9. Defendant is
        28 duping AirDoctor customers into purchasing Substandard Filters that it claims are
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          1 “HEPA”, are “compatible”, and are equivalent in performance to genuine AirDoctor
          2 UltraHEPA Filters, when they are not. Id. at ¶10; Compl. at ¶51.
          3         Not only do Defendant’s falsely advertised Substandard Filters decrease the
          4 performance of the AirDoctor Air Purifiers and cause damage to Plaintiff’s customers’
          5 AirDoctor Air Purifiers, but Defendant’s conduct poses potentially serious health risks
          6 for people with certain medical issues, including those with respiratory and allergy
          7 conditions, who rely on the high filtration standards and validated third party testing of
          8 the AirDoctor Air Purifiers and AirDoctor UltraHEPA Filters. Id. at 11; Compl. at ¶14.
          9         C.    Damages
        10          As detailed in the Declaration of Mohan Ahaus, from December 2021 through June
        11 2023, based on sales reports complied by Helium-10, Defendant has sold 43,863 units of
        12 the falsely advertised filters on Amazon.com for $2,787,089.00 in revenue to Defendant.
        13 Ahaus Decl. ¶¶ 12-16. These falsely advertised filters have resulted in lost profits of
        14 $2,492,149.00 to Plaintiff. Id. at ¶ 17.
        15          D.    Procedural History
        16
                    Plaintiff filed the Complaint on August 15, 2022. Dkt. 1. On April 18, 2023, the
        17
              Court granted Plaintiff’s application for an order authorizing alternative service of
        18
              process. Dkt. 27. In accordance with the Court’s order, Plaintiff (1) attempted to serve
        19
              Defendant via direct message through Defendant’s Amazon account on April 21, 2023,
        20
              however, upon information and belief, Amazon deleted the message and Plaintiff was
        21
              unable to determine whether the message containing the pleadings was delivered; (2)
        22
              successfully sent a message through Defendant’s Amazon account on April 24, 2023
        23
              again notifying Defendant of this action and providing Defendant with Plaintiff’s
        24
              counsel’s contact information, but Plaintiff was unable to attach documents to the
        25
              Amazon message; (3) served the Summons and Complaint and all case opening
        26
              documents on Defendant’s counsel of record listed on its Trademark Registration on April
        27
              26, 2023; and (4) on April 28, 2023, sent the Summons and Complaint out for service on
        28
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          1 the Director of the USPTO, which was successfully delivered on May 1, 2023. Dkt. 32.
          2 Because Defendant failed to appear or otherwise file a responsive pleading to the
          3 Complaint, Plaintiff requested entry of default on June 21, 2023. Dkt. 35. The Clerk
          4 entered Defendant’s default on June 22, 2023. Dkt. 36.
          5 III.   LEGAL STANDARD
          6        Federal Rule of Civil Procedure (“Rule”) 55(b) authorizes a district court to grant
          7 default judgment after the Clerk of the Court enters default under Rule 55(a). Fed. R. Civ.
          8 P. 55(b). “Upon entry of default, the well-pleaded allegations of the complaint relating
          9 to a defendant’s liability are taken as true, with the exception of the allegations as to the
        10 amount of damages.” PepsiCo, Inc. v. California Sec. Cans, 238 F. Supp. 2d 1172, 1175
        11 (C.D. Cal. 2002); Fed. R. Civ. Proc. 8(b)(6).
        12         Granting default judgment is within the Court’s discretion. Warner Bros. Entm’t
        13 Inc. v. Caridi (“Caridi”), 346 F. Supp. 2d 1068, 1071 (C.D. Cal. 2004); PepsiCo, 238 F.
        14 Supp. 2d at 1174. The Ninth Circuit has directed courts to consider several factors in
        15 deciding whether to enter default judgment: (1) the possibility of prejudice to plaintiff;
        16 (2) the merits of plaintiff’s substantive claims; (3) the sufficiency of the complaint; (4)
        17 the sum of money at stake in the action; (5) the possibility of a dispute concerning the
        18 material facts; (6) whether defendant’s default was the product of excusable neglect; and
        19 (7) the strong public policy favoring decisions on the merits. See Eitel v. McCool, 782
        20 F.2d 1470, 1471-72 (9th Cir. 1986).
        21 IV.     ARGUMENT
        22         A.     Plaintiff Has Satisfied the Procedural Requirements for Default
                          Judgment Under Rule 55 and Local Rule 55-1
        23
        24         In addition the requirements of Rule 55(b), Local Rule 55-1 requires the party

        25 seeking default judgment to file a declaration establishing: (1) when and against what
        26 party default was entered; (2) the identification of the pleading to which default was
        27 entered; (3) whether the defaulting party is an infant or incompetent person, and if so,
        28 whether that person is represented by a general guardian, committee, conservator, or other
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          1 similar fiduciary who has appeared; (4) that the Servicemembers Civil Relief Act does
          2 not apply; and (5) that the defaulting party was properly served with notice. L.R. 55-1.
          3         First, Plaintiff served the summons and complaint on Defendant, but Defendant has
          4 not responded to the Complaint or otherwise appeared or participated in this action. See
          5 Dkt. 32, 35. The Clerk granted entry of default as to the Complaint. See Dkt. 36. Second,
          6 Plaintiff has filed a declaration as to the remaining elements of Local Rule 55-1. See
          7 Farnese Decl. at ¶¶3-8. Defendant is not a minor, infant, or otherwise incompetent person.
          8 Id. at ¶3. Further, the Servicemembers Civil Relief Act does not apply. Id. Finally, under
          9 Federal Rule of Civil Procedure 55(b)(2), because Defendant has not appeared in these
        10 proceedings, notice of default judgment proceedings is not required. See generally
        11 Docket; Farnese Decl. ¶¶6-7. Accordingly, Plaintiff has satisfied Local Rule 55-1. See
        12 also Philip Morris USA, Inc. v. Castworld Prods., Inc., 219 F.R.D. 494, 498 (C.D. Cal.
        13 2003).
        14          B.     The Eitel Factors Favor Entry of Default Judgment
        15          The Eitel factors weigh decisively in favor of entering default judgment. Without
        16 a judgement and injunction, Plaintiff is unable to halt Defendant’s false advertising of its
        17 Substandard Filters.
        18                 1. Plaintiff Will Suffer Prejudice Absent Entry of Default Judgment
        19
                    The first Eitel factor “considers whether plaintiff will suffer prejudice if default
        20
              judgment is not entered.” Design Collection, Inc. v. Going Out, Inc., No. CV 16-04297-
        21
              FMO-(AGRx), 2016 WL 9185322, at *2 (C.D. Cal. Sept. 14, 2016). Here, if default
        22
              judgment were not entered, Plaintiff “would be denied the right to judicial resolution of
        23
              the claims presented, and would be without other recourse for recovery.” Electra Entm’t
        24
              Grp. Inc. v. Crawford, 226 F.R.D. 388, 392 (C.D. Cal. 2005). Because Defendant has
        25
              failed to appear, Plaintiff would be prejudiced if it were unable to recover from Defendant
        26
              and halt Defendant’s false advertising. This factor therefore favors a default judgment.
        27
        28
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          1            2. The Merits of Plaintiff’s Claims and Sufficiency of the Complaint Weigh
                          in Favor of Default Judgment
          2
                    The second and third Eitel factors require that Plaintiffs “state a claim on which
          3
              [they] may recover.” PepsiCo, 238 F. Supp. 2d at 1175; see Caridi, 346 F. Supp. 2d at
          4
              1072 (default where merit to the plaintiff’s claim and copyright infringement sufficiently
          5
              pled). Plaintiff sufficiently states a claim for false advertising under the Lanham Act and
          6
              California law, as well as unlawful and unfair competition under California law.
          7
                                 a. Lanham Act Claim
          8
          9          In the Ninth Circuit, to prevail on a false advertising claim under § 43(a)(1) of the

        10 Lanham Act, a plaintiff must prove the following five elements: (1) a false statement of
        11 fact by the defendant in a commercial advertisement about its own or another’s product;
        12 (2) the statement actually deceived or has the tendency to deceive a substantial segment
        13 of its audience; (3) the deception is material, in that it is likely to influence the purchasing
        14 decision; (4) the defendant caused its false statement to enter interstate commerce; and
        15 (5) the plaintiff has been or is likely to be injured as a result of the false statement, either
        16 by direct diversion of sales from itself to defendant or by a lessening of the goodwill
        17 associated with its products Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134,
        18 1139 (9th Cir. 1997).
        19                              (1) False Statement

        20           “To demonstrate falsity within the meaning of the Lanham Act, a plaintiff may
        21 show that the statement was literally false, either on its face or by necessary implication,
        22 or that the statement was literally true but likely to mislead or confuse consumers.” Id.
        23 Further, “[w]hen evaluating whether an advertising claim is literally false, the claim must
        24 always be analyzed in its full context.” Id. “[A] literally false message need not be
        25 explicit.” In-N-Out Burgers v. Smashburger IP Holder LLC, 2019 U.S. Dist. LEXIS
        26 62743, 2019 WL 1431904, at *4 (C.D. Cal. Feb. 6, 2019). It may be “literally false by
        27 necessary implication where ‘the audience would recognize the claim as readily as if it
        28 had been explicitly stated.’” Clorox Co. v. Reckitt Benckiser Grp. PLC, 398 F. Supp. 3d
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          1 623, 635 (N.D. Cal. 2019); see also Novartis Consumer Health, Inc., (finding that the
          2 term “nighttime” in a product named “Night Time Strength” “necessarily conveys a
          3 message that the [ ] product is specially made to work at night”).
          4         Here, Defendant claims that its Substandard Filters provide “HEPA” level
          5 filtration. “HEPA” is an acronym for “high efficiency particulate air [filters]”. To be
          6 considered “HEPA” the U.S. Dept. of Energy (“DOE”) requires that the filters must
          7 “remove at least 99.97% of dust, pollen, mold, bacteria, and any airborne particles with a
          8 size of 0.3 microns.” (emphasis added). Compl. 37-52.            When evaluating HEPA
          9 advertising claims, courts apply the standard set by the DOE. See Dyson, Inc. v. Bissell
        10 Homecare, Inc., 951 F. Supp. 2d 1009, 1030 (N.D. Ill. 2013) (Applying DOE standard
        11 and holding “based on the undisputed record, the proper definition for ‘HEPA’ in the
        12 context of this case is a filter or filtration system that has a minimum efficiency of 99.97%
        13 for 0.3 micron particles when tested at the application’s rated air flow.”).
        14         Here, Defendant specifically advertises that its Substandard Filters meet the HEPA
        15 standard. Compl. 44-49.         However, third-party laboratory testing confirms that
        16 Defendant’s advertising claims are literally false as they do not meet the minimum
        17 performance requirements when used inside an AirDoctor Air Purifier. Compl. At 50, Ex.
        18 J. Likewise, that testing also shows that Defendant’s claims that its Substandard Filters
        19 are “compatible” with Plaintiff’s AirDoctor Air Purifier and therefore provide equivalent
        20 performance to Plaintiff’s AirDoctor UltraHEPA Filters are also literally false. Id.
        21                            (2) Deception and Materiality
        22         A literally false statement establishes deception. Factory Direct Wholesale, LLC v.
        23 Itouchless Housewares & Prods., 411 F. Supp. 3d 905, 924 (N.D. Cal. 2019). Deception
        24 is material if “it is likely to influence the purchasing decision.” Southland Sod Farms, 108
        25 F.3d at 1139 (9th Cir. 1997). Where an advertisement is demonstrated to be literally false,
        26 both actual deception and materiality are presumed. Southland Sod Farms, 108 F.3d at
        27 1148; Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 209 (9th Cir. 1989)
        28 (applying presumption of deception from literally false advertising in non-comparative
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          1 advertising case); AECOM Energy & Constr., Inc v. Ripley, 348 F. Supp. 3d 1038, 1056
          2 (C.D. Cal. 2018); POM Wonderful LLC v. Purely Juice, Inc., 2008 U.S. Dist. LEXIS
          3 55426, 2008 WL 4222045, at *1 (C.D. Cal. July 17, 2008), aff'd, 362 F. App'x 577 (9th
          4 Cir. 2009); (“A plaintiff is entitled to relief under the Lanham Act on proof of literal
          5 falsity alone, as the court will assume that false statements actually mislead
          6 consumers.”)4.
          7         Here, Plaintiff’s well-pleaded Complaint and independent, third-party testing of
          8 Defendant’s Substandard Filters demonstrate that Defendant’s advertising claims are
          9 literally false. Therefore, Plaintiff establishes deception and materiality.
        10                               (3) Interstate Commerce
        11          Under the fourth element of its Lanham Act claim, Plaintiff must show that
        12 Defendant “caused its false statement to enter interstate commerce.” Southland Sod
        13 Farms, 108 F.3d at 1139. Here, it cannot be not disputed that Defendant has marketed
        14 and sold its Substandard Filters to U.S. consumers on Amazon.com and has placed the
        15 product in the stream of commerce in the United States. Compl. at ¶16, 43-48.
        16                               (4) Injury
        17
                    The fifth element of a Lanham Act false advertising claim requires a plaintiff to
        18
              prove that it “has been or is likely to be injured as a result of the false statement, either by
        19
              direct diversion of sales from itself to defendant or by a lessening of the goodwill
        20
              associated with its products. Here, in order to ensure that the AirDoctor Air Purifiers
        21
              function as designed and maintain a sealed system, Plaintiff recommends that its
        22
              customers replace the filters in their AirDoctor Air Purifiers approximately once a year
        23
              or every 6 months, depending on usage or other indoor conditions. Compl. at 34.
        24
        25 4 Materiality may also be proven “by showing that the defendants misrepresented an
           inherent quality or characteristic of the product.” Clorox Co. v. Reckitt Benckiser Grp.
        26 PLC, 398 F. Supp. 3d 623, 644 (N.D. Cal. 2019) (internal citations omitted); see also
        27 POM Wonderful LLC v. Purely Juice, Inc., 2008 WL 422045, at *11 (C.D. Cal. July 17,
           2008) (finding false advertising material when it “pertained to the very nature of its juice
        28 product”).
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          1 Defendant’s Substandard Filters have harmed Plaintiff’s reputation because their false
          2 claims have misled customers of Plaintiff’s AirDoctor Air Purifiers and Plaintiff’s
          3 AirDoctor UltraHEPA Filters to believe that Defendant’s Substandard Filters provide
          4 equivalent performance to Plaintiff’s AirDoctor UltraHEPA Filters. As a result of
          5 Defendant’s false advertising, Plaintiff’s customers purchased 43,863 of Defendant’s
          6 Substandard Filters instead of Plaintiff’s AirDoctor UltraHEPA Filters, which placed the
          7 health of those customers at risk. Ahaus Decl. ¶12. See Southland Sod Farms, 108 F.3d
          8 at 1139; see also Align Technology Inc. v. Strauss Diamond Instruments Inc., 2019 WL
          9 1586776 at *13 (N.D. Cal. 2019) (noting likelihood of diversion of sales and lessening of
        10 goodwill from untrue claim that competitor product produces scans faster).
        11                      b. UCL and FAL Claims
        12         The UCL prohibits “any unlawful, unfair or fraudulent business act or practice and
        13 unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200.
        14 California’s FAL prohibits any “unfair, deceptive, untrue, or misleading advertising.”
        15 Cal. Bus. & Prof. Code § 17500. “‘[A]ny violation of the false advertising law . . .
        16 necessarily violates’ the UCL.” Kasky v. Nike, Inc. 27 Cal.4th 939, 950 (2002) (quoting
        17 Comm. on Children’s Television, Inc. v. General Foods Corp., 35 Cal.3d 197, 210
        18 (1983)).
        19         Courts apply the same analysis to Lanham Act, Unfair Competition Law, and False
        20 Advertising Law claims where, as here, they are based on the same alleged
        21 conduct. See Cleary v. News Corp., 30 F.3d 1255, 1262-63 (9th Cir. 1994) (violations of
        22 UCL are “substantially congruent” to claims under the Lanham Act); L.A. Taxi Coop.,
        23 Inc. v. Uber Techs., Inc., 114 F. Supp. 3d 852, 860 (N.D. Cal. 2015) (claims brought under
        24 Cal. Bus. & Prof. Code § 17500 are substantially congruent to false advertising claims
        25 brought under the Lanham Act). Accordingly, as set forth above, because Defendant’s
        26 conduct violates the Lanham Act, it also violates the UCL and FAL.
        27
        28
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          1         In sum, the second and third Eitel factors weigh in favor of granting default
          2 judgment because the allegations in the Complaint, taken as true, establish Defendant’s
          3 false advertising violation of the Lanham Act and related California laws.
          4                3. The Sum of Money at Stake Is Proportional to the Harm
          5         This factor considers the “the amount of money at stake in relation to the
          6 seriousness of Defendants conduct.” PepsiCo, Inc., 238 F. Supp. 2d at 1176. Here,
          7 Defendant has sold 43,863 of Defendant’s Substandard Filters to Plaintiff’s customers
          8 from December 2021 to June 2023, for revenue of over $2.7 million. Ahaus Dec. ¶16.
          9 Plaintiff seeks damages of $2,492,149.00 in the form of its lost profits. In sum, the amount
        10 at issue is proportionate to the seriousness of Defendant’s conduct and this factor favors
        11 entry of default judgment.
        12             4. There Is No Possibility of Dispute Regarding Material Facts
        13
                    A defendant’s failure to respond to a complaint indicates that “the likelihood that
        14
              any genuine issue may exist is, at best, remote.” Philip Morris USA, Inc. v. Castworld
        15
              Prods., Inc., 219 F.R.D. 494, 500 (C.D. Cal. 2003). As default has been entered against
        16
              Defendant and Plaintiff’s Complaint is well-pleaded, there is no possible dispute
        17
              concerning the material facts because the factual allegations of Plaintiffs’ complaint are
        18
              taken as true. PepsiCo, 238 F. Supp. 2d at 1177; Dkt. 1. This Eitel factor also weighs in
        19
              favor of default judgment.
        20
                       5. There Is No Possibility of Excusable Neglect
        21
                    The sixth Eitel factor considers the possibility that the default resulted from
        22
              excusable neglect. PepsiCo, Inc., 238 F. Supp. 2d at 1177. It is unlikely that the default
        23
              in this case resulted from Defendant’s excusable neglect. Plaintiff served Defendant with
        24
              the Complaint, the summons, and other case initiating documents through multiple
        25
              avenues approved by the court in its order authorizing alternative service of process. Dkt.
        26
              27. In addition, Plaintiff has communicated directly with Defendant through Amazon.com
        27
              and its listed counsel for its registered trademarks. Defendant failed to file an answer or
        28
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          1 any other responsive pleadings and failed to make an appearance. Defendant has had
          2 abundant notice of this case but has apparently elected not to participate. The sixth Eitel
          3 factor therefore weighs in favor of granting default judgment.
          4             6. The Policy for Decisions on the Merits Does Not Preclude Default
                           Judgment
          5
          6        The final Eitel factor considers the preference for deciding cases on the merits, see

          7 Eitel, 782 F.2d at 1471-72, but “this factor, standing alone, cannot suffice to prevent entry
          8 of default judgment for otherwise default judgment could never be entered,” Caridi, 346
         9 F. Supp. 2d at 1073. Defendant’s default is the reason there can be no decision on the
        10 merits. PepsiCo, Inc., 238 F. Supp. 2d at 1177 (“Defendant’s failure to answer Plaintiffs’
        11 Complaint makes a decision on the merits impractical, if not impossible”). This factor
        12 therefore favors entry of default judgment.
        13         C.     Plaintiff is Entitled to the Requested Relief

        14         Plaintiff requests the following relief: 1) the entry of final judgment for Plaintiff
        15 and against Defendant; 2) a permanent injunction; 3) lost profits damages in the amount
        16 of $2,492,149.00; and 4) attorneys’ fees and costs in the amount of $53,442.98.
        17                1.     Permanent Injunction
        18         Under the Lanham Act, a district court has the “power to grant injunctions,
        19 according to the principles of equity and upon such terms as the court may deem
        20 reasonable,” “to prevent a violation” under 15 U.S.C. § 1125(a) (“Section 1125(a)”). 15
        21 U.S.C. § 1116(a) (“Section 1116(a)”). Alpargatas USA, Inc. v. Flopstore LLC, No. CV
        22 21-6063-GW-PVCx, 2022 U.S. Dist. LEXIS 110724, at *15 (C.D. Cal. Mar. 25, 2022).
        23 Further, the UCL and FAL also allow prevailing plaintiffs to obtain injunctive relief. Cal.
        24 Bus. & Prof. Code § 17203 (“Any person who engages, has engaged, or proposes to
        25 engage in unfair competition may be enjoined in any court of competent jurisdiction.”).
        26 “The remedial power granted under [the UCL and FAL] is extraordinarily broad” and
        27 includes the power to grant injunctions with general deterrent effect. Consumers Union
        28 of U.S., Inc. v. Alta-Dena Certified Dairy, 4 Cal. App. 4th 963, 972-73 (1992).
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          1        “Courts routinely grant permanent injunctions prohibiting deceptive advertising.”
          2 TrafficSchool.com, Inc. v. Edriver Inc., 653 F.3d 820, 829 (9th Cir. 2011). Moreover,
          3 courts can also order the false advertiser to take steps to correct their deception. See id.
          4 (“[T]he district court here didn’t abuse that discretion when it concluded that [ordering
          5 the false advertiser to affirmatively present] the splash screen [on its own website] was
          6 the optimal means of correcting defendants’ false advertising” but remanding for further
          7 analysis on First Amendment considerations); see also Consumers Union of U.S., Inc. v.
          8 Alta-Dena Certified Dairy, 4 Cal. App. 4th 963, 972-973 (1992) (California appellate
          9 court upheld a mandatory injunction against a dairy company under UCL and FAL).
        10         A plaintiff seeking a permanent injunction must demonstrate that (1) “it has
        11 suffered an irreparable injury;” (2) “remedies at law, such as monetary damages, are
        12 inadequate to compensate for that injury;” (3) “considering the balance of hardships
        13 between the plaintiff and defendant, a remedy in equity is warranted;” and (4) “the public
        14 interest would not be disserved by a permanent injunction.” eBay Inc. v. MercExchange,
        15 L.L.C., 547 U.S. 388, 391 (2006). As this Court has recognized: “[w]hen an injunction is
        16 sought to prevent the violation of a federal statute which specifically provides for
        17 injunctive relief, such relief is proper absent compelling circumstances counseling against
        18 its imposition.” Alpargatas USA, Inc., 2022 U.S. Dist. LEXIS 110724, at *15.
        19         First, Plaintiff will suffer irreparable harm if Defendant continues to falsely
        20 advertise its Substandard Filters. Under the Lanham Act, as revised by the Trademark
        21 Modernization Act of 2020 (“TMA”), a plaintiff seeking any such injunction shall be
        22 entitled to a rebuttable presumption of irreparable harm upon a finding of a violation
        23 identified in this subsection in the case of a motion for a permanent injunction or upon a
        24 finding of likelihood of success on the merits for a violation identified in this subsection
        25 in the case of a motion for a preliminary injunction or temporary restraining order.” 15
        26 U.S.C. § 1116(a) (added by Congress as part of the Consolidated Appropriations Act; see
        27 Pub. L. 116-260, § 226, 134 Stat. 2208 (2020)); Suzie's Brewery Co. v. Anheuser-Busch
        28 Cos., LLC, 519 F. Supp. 3d 839 (D. Or. 2021)(applying TMA presumption in false
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          1 advertising case). As described above, Plaintiff has demonstrated a violation of the
          2 Lanham Act and is entitled to the presumption. See Monster Energy Co. v. Vital Pharm.,
          3 Inc., No. EDCV 18-1882 JGB (SHKx), 2023 U.S. Dist. LEXIS 64630, at *6 (C.D. Cal.
          4 Apr. 12, 2023).
          5        Even without the presumption provided by the TMA, Plaintiff can establish
          6 irreparable harm due to the diversion of customers Plaintiff’s AirDoctor UltraHEPA
          7 Filters to Defendant’s Substandard Filters and harm to Plaintiff’s goodwill and business
          8 reputation. See, e.g., Monster Energy Co. v. Vital Pharm., Inc., 2023 U.S. Dist. LEXIS
          9 64630, at *7 (“[T]he Court concludes that Monster’s loss of customers is an irreparable
        10 harm.”); Align Technology, 2019 WL 1586776 at *13 (noting likelihood of diversion of
        11 sales and lessening of goodwill from untrue claim that competitor product produces scans
        12 faster); see also Ahaus Decl. at ¶¶9-11 (describing harm to Plaintiff and its goodwill).
        13         Second, monetary remedies are inadequate to address the harm to Plaintiff.
        14 Defendant’s refusal to participate in this case supports finding that monetary damages
        15 may be inadequate to prevent future harm. See, e.g., Belks Media v. OnlineNIC, 2010 U.S.
        16 Dist. LEXIS 143946, 2010 WL 7786122, at *4 (N.D. Cal. Aug. 23, 2010). Further, a
        17 legal remedy in the form of monetary damages may also be inadequate if Defendants are
        18 unable to satisfy any judgment and Plaintiff is forced to return to this Court to seek relief.
        19 See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1220
        20 (C.D. Cal. 2007) (“[a] legal remedy is inadequate if it would require a multiplicity of
        21 suits”) (internal quotations omitted). Defendant’s failure to appear indicates that this
        22 scenario is a distinct possibility. Relief beyond monetary damages—i.e., an injunction—
        23 is thereby warranted. Figs, Inc. v. My Open Heart LLC, No. 2:22-cv-06129-AB-MAR,
        24 2023 U.S. Dist. LEXIS 86853, at *12 (C.D. Cal. Mar. 7, 2023).
        25         Third, the balance of hardships favors Plaintiff because “there is no harm to a
        26 defendant from an injunction which prevents continuing dissemination of false
        27 statements.” POM Wonderful LLC v. Purely Juice, Inc., 2008 U.S. Dist. LEXIS 55426,
        28 2008 WL 4222045, at *16 (C.D. Cal. July 17, 2008), aff’d, 362 F. App’x 577 (9th Cir.
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          1 2009); see Linotype Co. v. Varityper, Inc., 1989 U.S. Dist. LEXIS 9105, 1989 WL 94338,
          2 at *3 (S.D.N.Y. Aug. 4, 1989) (granting injunction despite defendant’s assurance that
          3 false ad had “run its course”). In other words, “[t]here is no hardship to a defendant when
          4 a permanent injunction would merely require the defendant to comply with law.” Deckers
          5 Outdoor Corp. v. Ozwear Connection Pty, Ltd., 2014 U.S. Dist. LEXIS 132169, 2014 WL
          6 4679001, at *13 (C.D. Cal. Sept. 18, 2014).
          7        Fourth, there is a public interest supports a permanent injunction. Courts have
          8 repeatedly found that “[t]here is a strong public interest in preventing false advertising of
          9 products in the marketplace.” Monster Energy Co., 2023 U.S. Dist. LEXIS 64630, at *23
        10 (internal citation omitted). Thus, “the public . . . will benefit from an injunction protecting
        11 consumers and competitors from Defendants’ false advertising.” Nutrition Distrib. LLC,
        12 2018 U.S. Dist. LEXIS 223872, 2018 WL 6264986, at *4; see also Paisa, Inc. v. N & G
        13 Auto, Inc., 928 F. Supp. 1009, 1013 (C.D. Cal. 1996) (“strong public interest in preventing
        14 consumer confusion and fraud”). As described above, the permanent injunction will
        15 prevent Defendant’s false claims about its Substandard Filters. Accordingly, the public
        16 interest favors an injunction.
        17         For the reasons set forth above, Plaintiff requests that the Court issue the proposed
        18 injunction under the Lanham Act, UCL, and FAL. See, e.g., Nat’l Grange of the Ord. of
        19 Patrons of Husbandry v. California Guild, 334 F. Supp. 3d 1057, 1067 n.4, 1071–72 (E.D.
        20 Cal. 2018) (granting an injunction under the FAL and the Lanham Act); Harbor Breeze
        21 Corp. v. Newport Landing Sportfishing, Inc., 2019 WL 4570033, at *3 (C.D. Cal. Aug.
        22 26, 2019), rev’d in part, vacated in part on other grounds, 28 F.4th 35 (9th Cir. 2022)
        23 (ordering and shaping an injunction against false advertising under the Lanham Act and
        24 the UCL).
        25                2.     Damages
        26         The Lanham Act provides that prevailing plaintiffs are entitled to recover “(1)
        27 defendant's profits, (2) any damages sustained by the plaintiff, and (3) the costs of the
        28 action.” 15 U.S.C. § 1117(a). While Plaintiff bears the burden to prove damages, “courts
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          1 have accepted less precise estimates of damages where a defendant frustrates the
          2 discovery of a precise amount by defaulting in the action.” Tender Software Pty v.
          3 ForestCoin, Inc., No. 2:21-cv-02169-JVS-MRWx, 2021 U.S. Dist. LEXIS 246727, at *15
          4 (C.D. Cal. Sep. 15, 2021).
          5        Here, because Plaintiff has been unable to obtain discovery from Defendant due to
          6 default, Plaintiff requests damages in the form of lost profits on sales of its own AirDoctor
          7 UltraHEPA Filters. Based on sales reports compiled by Helium-10, an industry standard
          8 platform that tracks sales data for particular items on Amazon.com, from December 2021
          9 through June 2023, Defendant has sold 43,863 units of the Substandard Filters on
        10 Amazon.com for $2,787,089.00 in revenue to Defendant. Ahaus Decl., ¶¶ 12, 16.
        11 Because Defendant competes directly with Plaintiff on Amazon.com, the falsely
        12 advertised filters have resulted in lost profits of $2,492,149.00 to Plaintiff. Id.
        13                3.     Attorneys’ Fees and Costs
        14         An award of “attorney[s’] fees to the prevailing party” is authorized “in exceptional
        15 cases” under the Lanham Act. 15 U.S.C. § 1117(a). An “exceptional case” is “one that
        16 stands out from others with respect to the substantive strength of a party’s litigating
        17 position . . . or the unreasonable manner in which the case was litigated.” SunEarth, Inc.
        18 v. Sun Earth Solar Power Co., 839 F.3d 1179, 1180 (9th Cir. 2016) (citation omitted).
        19 Where, as here, the defendant fails to participate in the litigation despite being served, a
        20 case is exceptional and attorneys’ fees are warranted. Quincy Bioscience, LLC v. Ctr.
        21 Field Retail, LLC, No. SACV 22-01327-CJC (DFMx, 2023 U.S. Dist. LEXIS 10119, at
        22 *21 (C.D. Cal. Jan. 18, 2023); Sream, Inc. v. Trukis25, Inc., No. EDCV 15-02277-VAP
        23 (SPx), 2016 U.S. Dist. LEXIS 199299, at *16 (C.D. Cal. Mar. 3, 2016) (“[Defendant] did
        24 not defend this action, and the allegations in the Complaint, admitted on [Defendant’s]
        25 default, reflect that his misconduct was willful.”).
        26         Consistent with Local Rule 55-3, Plaintiff requests an award of $53,442.98 in
        27 attorneys’ fees ($5,600 plus 2% of the amount of the judgment over $100,000).
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          1 V.     CONCLUSION
          2        For the foregoing reasons, Plaintiff respectfully requests that the Court enter default
          3 judgment against Defendant as set forth in the currently filed proposed judgment and
          4 permanent injunction.
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              DATED: August 7, 2023                 EPSTEIN DRANGEL LLP
          7
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